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                   IN THE UNITED STATES DISTRICT COURT FOR THE                           NOV              9201?
                            EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division                         % CLERK, U.S. DISTRICT COURT
                                                                                    •   ALEXANDRIA. VIRGINIA


UNITED STATES OF AMERICA

              V.                                            CRIMINAL NO. 1:16cr209


JUAN CARLOS GUADRON-RODRIGUEZ,                              Count 1: 18U.S.C. §371
       a.k,a. "Carios Carranza" and "Chispa,"               Conspiracy
       (Counts 1-5)
                                                            Counts 2-5: 18U.S.C. §§
MANUEL ANTONIO CENTENO,                                     1952(a)(3) & 2
       a.k.a. "Darky and Madrid,"                           Use of Interstate Facilities in Aid of
        (Counts 1, 6 - 8,10)                                Specified Unlawful Activity

DUBLAS ARISTIDES LAZO,                                      Count 6: 18 U.S.C. § 1201(c)
    a.k.a. "Caballo,"                                       Conspiracy to Commit Kidnapping
       (Counts 6-8)
                                                            Count 7: 18 U.S.C. § 1959(a)(5)
LELIS EZEQUIEL TREMINIO-TOBAR,                              Conspiracy to Commit Kidnapping
      a.k.a, "Scooby", Decente/' and "Jefferson,'           and Murder in Aid of Racketeering
      (Counts 6-8)
                                                            Count 8: 18 U.S.C. §§ 1201(a)(1)
CARLOS JOSE BENITEZ PEREIRA,                                &2
       a.k.a. "Negro,"                                      Kidnapping Resulting in Death
       (Counts 6-8)
                                                            Count 9: 18 U.S.C. §3
DANIEL OSWALDO FLORES-MARAVILLA,                            Accessory After the Fact
       a.k.a. "Impaciente," "Flaco," and "Gatito,"
       (Counts 6-8)                                         Count 10: 8 U.S.C, § 1326(a)
                                                            Illegal Re-entry After Deportation
ANDRES ALEXANDER VELASQUEZ
  GUEVARA,                                                  Forfeiture - 18 U.S.C. §
     a.k.a. "Pechada,"                                      981(a)(1)(C) & 28 U.S.C. § 2461(c)
       (Count 6)

SHANNON MARIE SANCHEZ,
    a.k.a. "Flaca,"
       (Counts 7, 9)

              Defendants.


                            THIRD SUPERSEDING INDICTMENT

                             November 2017 Term - at Alexandria

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       THE GRAND JURY CHARGES THAT:

                                   GENERAL ALLEGATIONS


       At all times relevant to this third superseding indictment:

       1.      The defendants, JUAN CARLOS GUADRON-RODRIGUEZ, also known as

"Carlos Carranza" and "Chispa," MANUEL ANTONIO CENTENO, also known as "Darky" and

"Madrid," DUBLAS ARISTIDES LAZO, also known as "Caballo," LELIS EZEQUIEL

TREMINIO-TOBAR, also known as "Scooby," "Decente," and "Jefferson," CARLOS JOSE

BENITEZ PEREIRA, also known as "Negro," DANIEL OSWALDO FLORES-MARAVILLA,

alsoknown as "Impaciente," "Flaco," and "Gatito," ANDRES ALEXANDER VELASQUEZ

GUEVARA, also known as "Pechada," and SHANNON MARIE SANCHEZ, also known as

"Flaca,"weremembers and associates of La Mara Salvatmcha, alsoknown as MS-13. MS-13 is

a violent international street gang involved in a variety of criminal activities, including

aggravated assault, extortion, abduction, kidnapping, murder, and obstruction ofjustice, in the

Eastern District of Virginia and elsewhere.

       2.      MS-13 members and associates are located throughout the United States,

including Virginia, Maryland, Ohio, Texas, andCalifornia. MS-13 also has a large international

presence in El Salvador, Guatemala, Honduras, and Mexico. MS-13 recruits members and

associates predominantly from the Hispanic community.

        3.     In orderto protect the power, reputation, and territoryof MS-13, members and

associates are required to use violence, threats of violence, andintimidation. These acts of

violence include murder and assault with deadly weapons, including firearms and knives. MS-

13 members and associates maintain and enhance their status in the gang, and the overall

reputation of the gang, by participating in such violent acts.
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       4.       MS-13 recruits are indoctrinated into MS-13 rules, which are ruthlessly

enforced. One prominent rule encourages MS-13 members and associates to confront, fight, and
kill rival gangmembers, known as "chavalas."

       5.      MS-13 is organized into local groups known as "cliques" that holdregular

meetings to coordinate gang activities. Each clique isrun by the senior leader, who isdesignated
the"First Word," and the second-in-command, who is designated the"Second Word." The other

members and associates of the clique taketheir orders from the "FirstWord" or "Second Word."

The leaders of the respective cliques attend larger general meetings to manage gang operations

on a regional and international level.

       6.      MS-13 members must attend clique meetings. At each clique meeting, members

are required topay dues to clique leaders. At times, MS-13 members are also expected to obtain
money through illegal means, including, but not limited to, extortion, which is provided to clique
leaders. The money is used to finance clique activities, to provide support for clique members

who are injail, andto sendmoney to MS-13 leadership in El Salvador.

       7.      The Virginia Locos Salvatrucha ("VLS") is an MS-13 clique operating in

Northern Virginia and elsewhere. Wilmer Javier Viera-Gonzalez was the "First Word" ofVLS.

DUBLAS ARISTIDES LAZO was the "Second Word" of VLS.

        8.     JUAN CARLOS GUADRON-RODRIGUEZ, LELIS EZEQUIEL TREMINIO-

TOBAR, CARLOS JOSE BENITEZ PEREIRA, DANIEL OSWALDO FLORES-

MARAVILLA, ANDRES ALEXANDER VELASQUEZ GUEVARA, and SHANNON MARIE

SANCHEZ were all members or associates of the VLS clique of MS-13.

        9.     MANUEL ANTONIO CENTENO was a member of the Silvas Locos Salvatrucha

("SLS") clique of MS-13. CENTENO associated with the VLS clique.
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       10.     SHANNON MARIE SANCHEZ permitted members of MS-13 to use her

residence, which was located in Leesburg, Virginia, within the Eastern District of Virginia, to

meet, plan, and coordinate their gang activity.
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                                           COUNT ONE


                                           (Conspiracy)

       THE GRAND JURY FURTHER CHARGES THAT:


       The GENERAL ALLEGATIONS of this third superseding indictment are realleged and

incorporated by reference as though fully set forth herein.

       From at least in and around January 2016 through in and around April 2016, in Leesburg,

Virginia, within the Eastern District of Virginia, and elsewhere, defendants JUAN CARLOS

GUADRON-RODRIGUEZ, also known as "Carlos Carranza" and "Chispa," and MANUEL

ANTONIO CENTENO, also known as "Darky" and "Madrid," did knowingly combine,

conspire, confederate and agree with each other, and with others, known and unknown to the

Grand Jury, to commit the following offense against the United States:

       (a)     to knowingly use, and cause others to use, facilities in interstate commerce,

specifically cellular telephones, with the intent to promote, carry on, and facilitate the promotion

and carrying on of an unlawful activity, that is extortion, in violation of Va. Code Ann. § 18.2-

59, and thereafter performed an act to promote and carry on, and to facilitate the promotion and

carrying on of such unlawful activity, in violation of Title 18, United States Code, Section

1952(a)(3).

                       MANNER AND MEANS OF THE CONSPIRACY


       The purpose of the conspiracy was to extort money firom an individual (hereinafter the

"Victim") in the Eastern District of Virginia for the benefit of MS-13 by way of threatening

violence and death to the Victim and the Victim's family. The manner and means by which the

conspirators conducted the conspiracy included the following:
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          1.     It was part of the conspiracy that conspirators, who were members and associates

of MS-13, demanded that the Victim make extortion payments, which conspirators referred to as

"rent," to members of MS-13 on a weekly or bi-weekly basis.

          2.     It was further part of the conspiracy that conspirators contacted the Victim via

cellular telephone calls, text messages, and social media messaging applications on the Victim's

cellular telephone to make demands for the "rent."

          3.     If was further part of the conspiracy that members of the conspiracy threatened to

kill the Victim or the Victim's family if the Victim failed to make the required "rent" payments.

                                            OVERT ACTS


          In furtherance of the conspiracy and to effect the object thereof, the defendants and co-

conspirators performed the following overt acts in the Eastern District of Virginia:

          1.     In and around late January 2016, in Leesburg, Virginia, Wilmer Javier Viera-

Gonzalez placed the barrel of a handgun to the Victim's head because the Victim had previously

failed to pay money.

          2.     In and around late January 2016, in Leesburg, Virginia, as he held the Victim at

gunpoint, Viera-Gonzalez took $200 from the Victim and threatened the Victim and the Victim's

family.

          3.     On or about January 30, 2016, a co-conspirator ("CC-1") sent a text message to

the Victim demanding that the Victim make a "rent" payment to members of MS-13.

          4.     On or about February 2, 2016, CC-1 sent a text message to the Victim demanding

that the Victim make a "rent" payment to members of MS-13.

          5.     On or about March 3, 2016, CC-1 and GUADRON-RODRIGUEZ met the Victim

at the Green Turtle Restaurant in Leesburg, Virginia, and collected a $150 "rent" payment.
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       6.      On or about March 3, 2016, while at the Green Turtle Restaurant in Leesburg,

Virginia, GUADRON-RODRIGUEZ called Viera-Gonzalez on Viera-Gonzalez's cellular

telephone in order for Viera-Gonzalez to discuss "rent" payments with the Victim.

       7.      On or about March 20, 2016, in Leesburg, Virginia, Viera-Gonzalez and

CENTENO attempted to abduct the Victim near the Leesburg Outlet Mall for a missed "rent"

payment.

       8.      On or about March 20, 2016, in Leesburg, Virginia, Viera-Gonzalez demanded

that the Victim get into the car that Viera-Gonzalez was driving.

       9.      On or about March 20, 2016, in Leesburg, Virginia, CENTENO told the Victim to

get into the car that Viera-Gonzalez was driving, and racked the slide of a handgun.

       10.     On or about March 23,2016, GUADRON-RODRIGUEZ met the Victim at the

Green Turtle Restaurant in Leesburg, Virginia, and collected a $100 "rent" payment,

       11.     On or about March 23, 2016, shortly after GUADRON-RODRIGUEZ collected

the rent payment from the Victim, Viera-Gonzalez called GUADRON-RODRIGUEZ, who

attempted to call the Victim so that Viera-Gonzalez could speak with the Victim.

       12.     On or about March 31,2016, GUADRON-RODRIGUEZ met the Victim at the

Green Turtle Restaurant in Leesburg, Virginia, and collected a $100 "rent" payment.

       13.     On or about March 31,2016, while at the Green Turtle Restaurant, GUADRON-

RODRIGUEZ called Viera-Gonzalez on Viera-Gonzalez's cellular telephone for Viera-Gonzalez

to speak with the Victim about the March 20, 2016 attempted abduction and the frequency ofthe

Victim's rent payments.
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        14.    On or aboutApril 14,2016, CC-1 met the Victimnear a Walgreens in Leesburg,

Virginia, and collected a $200 "rent" payment.




(In violation of Title 18, United States Code, Section 371.)
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                                           COUNT TWO


                (Use of Interstate Facilities in Aid of Specified Unlawful Activity)

        THE GRAND JURY FURTHER CHARGES THAT:


       The GENERAL ALLEGATIONS of this third superseding indictment are realleged and

incorporated by reference as though fully set forth herein.

       On or about March 3, 2016, in Leesburg, Virginia, within the Eastern District of Virginia,

defendant JUAN CARLOS GUADRON-RODRIGUEZ, did knowingly use, and cause others to

use, facilities in interstate commerce, specifically cellular telephones, with the intent to promote,

carry on, and facilitate the promotion and carrying on of an unlawful activity, that is extortion, in

violation of Va. Code Ann. § 18.2-59, and thereafter performed an act to promote and carry on,

and to facilitate the promotion and carrying on of such unlawful activity, specifically, the

collection of a $150 extortion payment.




(In violation of Title 18, United States Code, Sections 2 and 1952(a)(3).)
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                                          COUNT THREE


                (Use of Interstate Facilities in Aid of Specified Unlawfiil Activity)

        THE GRAND JURY FURTHER CHARGES THAT:


        The GENERAL ALLEGATIONS of this third superseding indictment are reallegedand

incorporated by reference as though fully set forth herein.

        On or about March 23,2016, in Leesburg, Virginia, within the Eastern District of

Virginia, defendant JUAN CARLOS GUADRON-RODRIGUEZ did knowingly use, and cause

others to use, facilities in interstate commerce, specifically cellular telephones, with the intent to

promote, carry on, and facilitate the promotion and carrying on of an unlawfixl activity, that is

extortion, in violation of Va. Code Ann. § 18.2-59, and thereafter performed an act to promote

and carry on, and to facilitate the promotion and carr3ang on of such unlawful activity,

specifically, the collection of a $100 extortion payment.




(In violation of Title 18, United States Code, Sections 2 and 1952(a)(3).)




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                                           COUNT FOUR


                (Use of Interstate Facilities in Aid of Specified Unlawful Activity)

        THE GRAND JURY FURTHER CHARGES THAT:


        The GENERAL ALLEGATIONS of this third superseding indictment are realleged and

incorporated by reference as though fully set forth herein.

        On or about March 31, 2016, in Leesburg, Virginia, within the Eastern District of

Virginia, defendant JUAN CARLOS GUADRON-RODRIGUEZ, did knowingly use, and cause

others to use, facilities in interstate commerce, specifically cellular telephones, with the intent to

promote, carry on, and facilitate the promotion and carrying on of an unlawful activity, that is

extortion, in violation of Va. Code Ann. § 18.2-59, and thereafter performed an act to promote

and carry on, and to facilitate the promotion and carrying on of such unlawful activity,

specifically, the collection of a $100 extortion payment.




(In violation of Title 18, United States Code, Sections 2 and 1952(a)(3).)




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                                           COUNT FIVE


                (Use of Interstate Facilities in Aid of SpecifiedUnlawful Activity)

        THE GRAND JURY FURTHER CHARGES THAT:

       The GENERAL ALLEGATIONS of this third superseding indictment are reallegedand

incorporated by reference as though fully set forth herein.

       On or about April 14, 2016, in Leesburg, Virginia, withinthe Eastern District ofVirginia,

defendant JUAN CARLOS GUADRON-RODRIGUEZ did knowingly use, and cause others to

use, facilities in interstate commerce, specificallycellular telephones, with the intent to promote,

carry on, and facilitate the promotion and carrying on of an unlawful activity, that is extortion, in

violation of Va. Code Ann. § 18.2-59, and thereafter performed an act to promote and carry on,

and to facilitate the promotion and carrying on of such unlawful activity, specifically, the

collection of a $200 extortion payment.




(In violation of Title 18, United States Code, Sections 2 and 1952(a)(3).)




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                                           COUNT SIX


                               (Conspiracy to Commit Kidnapping)

       THE GRAND JURY FURTHER CHARGES THAT:

       The GENERAL ALLEGATIONS of this third superseding indictment are realleged and

incorporated by reference as though fully set forth herein.

       In and around April 2016 through on or about May 24, 2016, in Leesburg, Virginia,

within the Eastern District of Virginia and elsewhere, defendants MANUEL ANTONIO

CENTENO, also known as "Darky" and "Madrid," DUBLAS ARISTIDES LAZO, also known

as "Caballo," LELIS EZEQUIEL TREMINIO-TOBAR, also known as "Scooby," "Decente,"

and "Jefferson," CARLOS JOSE BENITEZ PEREIRA, also known as "Negro," DANIEL

OSWALDO FLORES-MARAVILLA, also known as "Impaciente," "Flaco," and "Gatito," and

ANDRES ALEXANDER VELASQUEZ GUEVARA, also known as "Pechada," did knowingly

combine, conspire, confederate, and agree witheachother, and withothers, known andunknown

to the Grand Jury, to unlawfully and willfully seize, inveigle, decoy, kidnap, abduct, and carry

away andhold for ransom, reward and otherwise, Carlos Otero-Henriquez, in violation of Title

18, United States Code, Section 1201(a)(1).

                       MANNER AND MEANS OF THE CONSPIRACY


       The purpose of the conspiracy was to adhere to MS-13's rule of attacking and killing

individuals who are identified as being rival gang members. The manner and means by which

the conspirators conducted the conspiracy included the following:

        1.     It was part of the conspiracy that conspirators, who were members and associates

ofMS-13, identified Carlos Otero-Henriquez as a member ofthe rival 18^*^ Street gang.




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        2.     It was further part of the conspiracy that conspirators conducted an

"investigation" to confirm that Carlos Otero-Henriquez was a member of 18^*^ Street gang.

       3.      It was further part of the conspiracy that conspirators lured Carlos Otero-

Henriquez into a vehicle occupied by members and associates of MS-13, and then drove him to

another location in order to attack and kill him.


       4.      It was further part ofthe conspiracy that, after kidnapping and murdering Carlos

Otero-Henriquez, the conspirators took steps to destroy evidence and conceal their crime and to

avoid apprehension.

                                          OVERT ACTS


       In furtherance of the conspiracy and to effect the object thereof, the defendants and their

co-conspirators performed the following overt acts in the Eastern District of Virginia and

elsewhere:


       1.      On or about April 7,2016, ANDRES ALEXANDER VELASQUEZ GUEVARA

sent Carlos Otero-Henriquez a Facebook fnend request.

       2.      In and around April 2016 through in and around early May 2016, VELASQUEZ

GUEVARA obtained four photographs from Carlos Otero-Henriquez's Facebook profile of

Otero-Henriquez flashing 18**^ Street gang signs, and shared thephotographs with other members

and associates of MS-13.


       3.      On or about May 21, 2016, VELASQUEZ GUEVARA spoke with LAZO and a

co-conspirator ("CC-l"), confirmed that Otero-Henriquez was with VELASQUEZ GUEVARA,

and arranged to meet LAZO and CC-1, along with other members and associates of MS-13, to

"deliver" Otero-Henriquez to them.




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        4.     On or about May 21,2016, LAZO borrowed a Chevrolet Suburban, which was

registered to SHANNON MARIE SANCHEZ, and used it to transport himself, MANUEL

ANTONIO CENTENO, LELIS EZEQUIEL TREMINIO-TOBAR, CARLOS JOSE BENITEZ

PEREIRA, DANIEL OSWALDO FLORES-MARAVILLA, Wilmar Javier Viera-Gonzalez, and

CC-1 to a parking lot in Leesburg, Virginia, to pick up the victim from VELASQUEZ

GUEVARA.


       5.      On or about May 21, 2016, VELASQUEZ GUEVARA delivered Carlos Otero-

Henriquez to LAZO, CENTENO, TREMINIO-TOBAR, PEREIRA, FLORES-MARAVILLA,

Viera-Gonzalez, and CC-1 at a parking lot in Leesburg, Virginia.

       6.      On or about May 21, 2016, in Leesburg, Virginia, LAZO, CENTENO,

TREMINIO-TOBAR, PEREIRA, FLORES-MARAVILLA, Viera-Gonzalez, and CC-1 lured

Otero-Henriquez into the Chevrolet Suburban in Leesburg, Virginia, under the pretense that they

were going to a party.

       7.      On or about May 21, 2016, LAZO, CENTENO, TREMINIO-TOBAR, PEREIRA,

FLORES-MARAVILLA, Viera-Gonzalez, and CC-1 took Otero-Henriquez from Leesburg,

Virginia to Harpers Ferry, West Virginia to kill him.

       8.      On or about May 21, 2016, during the drive to West Virginia, Viera-Gonzalez

pretended to befriend Otero-Henriquez while Viera-Gonzalez questioned him about being a

member of the 18**^ Streetgang.

       9.      On or about May 21, 2016, in Harpers Ferry, West Virginia, LAZO, CENTENO,

TREMINIO-TOBAR, PEREIRA, FLORES-MARAVILLA, Viera-Gonzalez, and CC-1 exited

the Suburban with Otero-Henriquez, and led him onto a quarry property, out ofview of the road.




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          10.   On or about May 21,2016, in Harpers Ferry, West Virginia, LAZO returned to

the Suburban to serve as a lookout and ensure thatthe parked Suburban didnotdraw any

attention during the murder of Otero-Henriquez.

          11.   On or about May 21, 2016, CENTENO, TREMINIO-TOBAR, PEREIRA,

FLORES-MARAVILLA, Viera-Gonzalez, and CC-1 held, attacked, and murdered Otero-

Henriquez, during which time Viera-Gonzalez questioned Otero-Henriquez aboutthe IS^'* Street

gang.


          12.   On or about May 22, 2016, after Otero-Henriquez's murder, LAZO drove

himself, CENTENO, TREMINIO-TOBAR, PEREIRA, FLORES-MARAVILLA, Viera-

Gonzalez, and CC-1 fromWest Virginia to SANCHEZ'S residence in Leesburg, Virginia.

          13.   On or about May 22,2016, while at SANCHEZ'S residence in Leesburg, Virginia

and with her assistance, LAZO, CENTENO, TREMINIO-TOBAR, PEREIRA, FLORES-

MARAVILLA, Viera-Gonzalez, and CC-1 removed and burned their clothing used during the

murder to destroy evidence linking them to Otero-Henriquez's murder.

        14.     On or about May 24, 2016, VELASQUEZ GUEVARA removed Otero-Henriquez

as a Facebook friend to conceal his involvement in Otero-Henriquez's disappearance and

murder.




(In violation of Title 18, United States Code, Section 1201(c).)




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                                         COUNT SEVEN


             (Conspiracy to Commit Kidnapping andMurder in Aidof Racketeering)

        THE GRAND JURY FURTHER CHARGES THAT:

                                           Introduction


        The GENERAL ALLEGATIONS of this third superseding indictment are realleged and

incorporated by reference as though fully set forth herein.

                                   The Racketeering Enterprise

       MS-13, including its leaders, members, and associates, constitutes an enterprise as

definedin Title 18, United States Code, Section 1959(b)(2), that is, a group of individuals

associated in fact which is engaged in, andthe activities of which affect, interstate andforeign

commerce. MS-13 is an ongoing organization whose members and associates fimction as a

continuing xmit for a commonpurposeof achieving the objectives of the enterprise.

                                    Purpose of the Enterprise

       The purposes of the MS-13 enterprise include the following:

       (a) Preserving, expanding, and protecting the power, territory, and reputation of MS-13

through violence, threats of violence, and intimidation;

       (b) Promoting and enhancing MS-13 and the activities of its members and associates

by committing crimes, including, but not limited to, murder;

       (c) Keeping victims, potential victims, and community members in fear of MS-13 and its

members and associates through violence, threats of violence, and intimidation;

       (d) Confironting and retaliating against rival gangs through the use of violence, threats of

violence, and intimidation;

       (e) Hindering and obstructing efforts of law enforcement to identify, apprehend, and



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successfully prosecute offending gang members; and

        (f) Providing financial support andinformation to MS-13 members, including those

incarcerated in the United States and El Salvador.

                                Means and Methods of the Enterprise

        Among the means and methods by which MS-13 members and associates conduct and

participate in the affairs of the enterprise are the following:

        (a) MS-13 members and associates use violence, threats ofviolence, and intimidation to

preserve, protect, and expand the enterprise's territory and activities andto enhance its prestige,

reputation, and position in the conmiunity;

        (b) MS-13 members and associates promote a climate of fear through violence, threats of

violence, and intimidation;

        (c) MS-13 members and associates use violence, threats of violence, and intimidation to

discipline and punish members and associates who violate enterprise rules;

       (d) MS-13 members and associates use telephones to discuss gang-related business and

to obtain approval for the use of violence to further the purposes of MS-13; and

       (e) MS-13 members and associates collect dues to send to MS-13 members incarcerated

in the United States and El Salvador and to MS-13 leadership in El Salvador, in an effort to

provide financial support to the enterprise;

       MS-13, through its members and associates, engages in racketeering activity as defined in

Title 18, United States Code, Sections 1959(b)(1) and 1961(1), that is, acts involving murder and

extortion, in violation of the laws of the Commonwealth of Virginia; acts indictable under Title

18, United States Code, Sections 1503 (obstruction ofjustice), 1512 (witness tampering) and




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2421 and 2422 (sex trafficking); and offenses involving drug trafficking, in violation of Title 21,

United States Code, Sections 841 and 846.

       In and around April 2016 through on or about May 24, 2016, in Leesburg, Virginia,

within the Eastern District of Virginia and elsewhere, for the purpose of gaining entrance to and

maintaining and increasing position in MS-13, an enterprise engaged in racketeering activity,

defendants MANUEL ANTONIO CENTENO, also known as "Darky" and "Madrid," DUBLAS

ARISTIDES LAZO, also known as "Caballo," LELIS EZEQUIEL TREMINIO-TOBAR, also

known as "Scooby," "Decente," and "Jefferson," CARLOS JOSE BENITEZ PEREIRA, also

known as "Negro," DANIEL OSWALDO FLORES-MARAVILLA, also known as

"Impaciente," "Flaco," and "Gatito," and SHANNON MARIE SANCHEZ, also known as

"Flaca," did knowingly combine, conspire, confederate, and agree with each other, and with

others, known and unknown to the grand jury, to kidnap and murder Carlos Otero-Henriquez, in

violation of the laws of the Commonwealth of Virginia, specifically Va. Code Ann. §§ 18.2-22,

18.2-32 and 18.2-47.




(In violation of Title 18, United States Code, Section 1959(a)(5).)




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                                         COUNT EIGHT


                                 (Kidnapping Resulting in Death)

        THE GRAND JURY FURTHER CHARGES THAT:

        The GENERAL ALLEGATIONS of thisthird superseding indictment arerealleged and

incorporated by reference as though fully set forth herein.

        On or about May 21, 2016, defendants MANUEL ANTONIO CENTENO, also known as

"Darky" and "Madrid," DUBLAS ARISTIDES LAZO, also known as "Caballo," LELIS

EZEQUIEL TREMINIO-TOBAR, also known as "Scooby," "Decente," and "Jefferson,"

CARLOS JOSE BENITEZ PEREIRA, also known as "Negro," and DANIEL OSWALDO

FLORES-MARAVILLA, also known as "Impaciente,""Flaco," and "Gatito," did unlawfully

and willfully seize, inveigle, decoy, kidnap, abduct, and carry away and hold Carlos Otero-

Henriquez for ransom, reward and otherwise, namely for the purpose of killing him because he

was believed to be a rival gang member, and, in committing and in furtherance of the

commission of the offense, did willfully transport Carlos Otero-Henriquez in interstate

commerce from Leesburg, Virginia, in the Eastern District of Virginia, to West Virginia, and did

aid, abet, counsel, command, induce, and cause another to commit said offense, and Carlos

Otero-Henriquez died as a result ofthe offense.




(In violation of Title 18, United States Code, Sections 1201(a)(1) and 2.)




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                                           COUNT NINE


                                     (Accessory After the Fact)

        THE GRAND JURY FURTHER CHARGES THAT:

        The GENERAL ALLEGATIONS of this third superseding indictment arerealleged and

incorporated by reference as though fiilly set forth herein.

        On or aboutMay22,2016, in Leesburg, Virginia, within the Eastem District of Virginia,

defendant SHANNON MARIE SANCHEZ, also known as "Flaca,"knowing that an offense

against the United States had been committed, namely the kidnapping resulting in the deathof

Carlos Otero-Henriquezon or about May 21, 2016, as described in Count Eight ofthis third

supersedingindictment, in violation of Title 18, United States Code, Sections 1201(a)(1) and 2,

knowingly received, relieved, comforted, and assisted the offenders in order to hinder and

prevent their apprehension, trial, and punishment, to wit: the defendant received the offenders in

her home immediatelyfollowingthe crime, helped them bum the clothingthey wore during the

commission of the crime, and helped them clean the knife and her Chevrolet Suburban which

were used during the commission of the crime.




(In violation of Title 18, United States Code, Section 3.)




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                                           COUNT TEN


                                (Illegal Re-entry After Deportation)

        On or about April 9,2016, in Fairfax County, Virginia, within the Eastern District of

Virginia, defendant MANUEL ANTONIO CENTENO, an alien, was found in the United States

afterhaving been deported and removed therefi-om on or aboutAugust 27, 2004, at or near

Houston, Texas, andon or about October 12, 2011, at or nearMesa, Arizona, andnot having

obtained the express consent of the Attorney General or the Secretary of Homeland Security to

reapply for admission in the United States.




(In violation of Title 8, United States Code, Section 1326(a).)




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                                     FORFEITURE NOTICE

        THE GRAND JURY FURTHER FINDS PROBABLE CAUSE TO BELIEVE THAT:

        Defendants JUAN CARLOS GUADRON-RODRIGUEZ and MANUEL ANTONIO

CENTENO, if convicted of Counts One through Five of thisthird superseding indictment, shall

forfeit tothe United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and
Title 28, United States Code, Section 2461(c), anyproperty, real orpersonal, which constitutes

or is derived from proceeds of the offenses charged in those counts. This property includes, but

is not limited to:


        (1)     approximately $200 in United States currency taken in or around late January

2016;

        (2)     approximately$150 in United States currency taken on March 3,2016;

        (3)     approximately $100 in United States currency taken on March 23, 2016;

        (4)     approximately$100 in United States currency taken on March 31,2016; and

        (5)     approximately $200 in United States currency taken on April 14, 2016.

        Pursuant to Title 21, United States Code, Section 853(p), as incorporatedby Title 28,

United States Code, Section 2461(c),the defendants shall forfeit substituteproperty, up to the

value of the amoimtdescribed above, if by any act or omission of the defendants, the property

described above, or any portion thereof, cannot be located upon the exercise of due diligence;

has been transferred, sold, or substantially diminished in value; or has been commingled with

other property which cannot be divided without difficulty.



(Pursuant to Title 18, United States Code, Section 981(a)(1)(C); and Title 28, United States
Code, Section 2461(c); and Rule 32.2(a), Federal Rules of Criminal Procedure.)




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                                              Forepersonofthe Grand Jury



       Dana J. Boente
       United States Attorney


By:
      ^tricia T. Giles
      Assistant United States Attorney



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      Monijs R. Parker, Jr.
      Assistant United States -   omey




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